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lN THE UN|TED STATES DlSTR|CT COURT
FOR THE WESTERN DlSTRlCT OF TENNESSEE
WESTERN DlVlSlON

 

UN|TED STATES OF AlV|EF'i|CA

 

Plaihtiff,
VS CR. NO. 04-20177-B
LARFtY BULLOCK

Defendant.

ORDER ON JURY VERD|CT

 

This cause came on for trial on June 6, 2005, the United States Attorney for this District,
Kevin Whitmore, representing the Government, and the detendant, Larry Bullock, appearing in
person and with counsel, Harold Archiba|d.

Jurors were selected and sworn. After listening to opening statements, all of the prooi,
closing arguments and jury charge, the jurors were excused to begin deliberation

After due deliberation, the jury returned in open court on June 8, 2005, and announced a
verdict ot GU|LTY as to Counts t, 2 81 3 of the lndictment.

Jurors were polled individually.

The SENTENCING HEAR|NG is SET on WEDNESDAY, September14, 2005 at 9:00 a.m.
in Courtroom Number ‘l, on the 11th F|oor, before Judge J. Danie| Breen.

Defendant was permitted to remain on his present bond status.

/M

J. o NlEi_ BREEN \
UN| ED STATES DlSTFthT JUDGE
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ENTERED this the 16 day of June, 2005.

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 82 in
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Honorable J. Breen
US DISTRICT COURT

